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                           EXHIBIT 14
FrontPage Magazine - Saudis Spread Hate Speech in U.S.                                                                     http: 1/archive.frontpagemag.com/readArticle.aspx? ARTI D=22564
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          FrontPageMag Article                                                                                                                                      Mx ;:~ (:;,:K~fC

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          Saudis Spread Hate Speech in U.S.                                                                                                                         The Spirit of Kibbutz
          By: Foundation for Defense of Democracies
                                                                                                                                                                    Close to Home Go 2,
          FrontPageMagazine.com 1 Monday, September 16, 2002                                                                                                        3, 4 or 7 weeks.
                                                                                                                                                                    Habonim Dror
                                                                                                                                                                    www .CampGalil.org

                                                                                                                                                                    ~b~.~JL~;;!H~.~;;!JJ.di
          The Saudi Institute and the Foundation for the Defense of Democracies (FDD) have initiated a joint project to                                             A.r;;!.biil
          track and study the spread of hate speech in the U.S. and abroad by Saudi Arabian officials and institutions.                                             Use cell phone to call
                                                                                                                                                                    Saudi Arabia At 7.9
          "Astonishingly, even as the Saudi government spends millions to convince Americans that they are friends and                                              ¢/min. Try First Ca II
          allies, they are waging a campaign based on slanders, falsehoods, intolerance and defamation," said Saudi             STUDENTS FOR                        Free!
          Institute Director Ali al-Aluned. "It is vital that the American people and their elected leaders know what the       ACADEMIC FREEDOM                    Rebtel.co m/SaudiArabia
          Saudi government is doing- and respond appropriately."                                                                Academic Freedom
                                                                                                                                                                    part-Jewish ?
          "The Saudi disinfonmation campaign attacks Jews, Christians and the majority ofthe world's Muslims who do             New Report Cites Penn State         Site covering topics
          not adhere to Wahhabisrn, the official sect of Saudi Arabia," said Stephen Schwartz, Senior Policy Analyst for        Courses for Violations of its own   relevant to
          the FDD, and author of The Two Faces of Islam: The House of Sa 'ud From Tradition to Terror. "President               Academic Freedom Policies.          descendants of Jewish
          Bush and Secretary of State Colin Powell should demand that the Saudis cease this campaign immediately, and           Read more.                          intermarriage
          offer apologies to those whom they have slandered and defamed."                                                                                           half-jewish.org
                                                                                                                                SYMPOSIUMS
          Examples of hate speech being disseminated by Saudi officials are attached.
                                                                                                                                Symposium: Remembering              The Real Israelites
                                                                                                                                the Dissident                       Learn about the true
                                      Hate literature Distributed by Saudi Officials in the U.S.                                Symposium: The Closing of           israelites and their
                                                                                                                                the American Psyche                 identity, the real
          Saudi officials disseminate hate literature openly in the United States, through such entities as the Institute for   Symposium: Aviation                 jews.
          Islamic and Arabic Sciences in America (IIASA), in Fairfax, Va. and the World Assembly of Muslim Youth                Security-- in the Future            www .therealisraelites.com
          (WAMY), in Alexandria, Va. These publications show that official Saudi representatives in the United States           Symposium: Obscene
          promote beliefs that Jews are the source of all conflicts in the world, that Sbi'a Muslims are part of a Jewish       Hostage Trades
          conspiracy, and that Muslims, Jews, and Christians cannot live together.                                              Symposium: Confronting              Religious Hair
                                                                                                                                Islamization of the West            Coverings
          Examples:                                                                                                             Symposium: Homegrown                Hair Doilies for
                                                                                                                                Jihad is                            worship Pray in style
          The book De en al-Haqq (The True Religion), authored in Arabic by Abdul-Rahman Ben Hamad Al-Orner.                                                        www .glamdoily .com
                                                                                                                                Symposium: Islamic Terror
          Printed by the Ministry oflslamic Affairs and Endowments, Riyadh, and paid for by the foundation of Ibrahim           and Sexual Mutilation
          ibn Abdul-Aziz Al-Brabirn, King Fahd's father-in-law. Distributed by in the U.S. by W AMY and liAS A:
                                                                                                                                Symposium: A Discussion
                                                                                                                                on Faith
          "Judaism and Christianity are deviant religions" (page 25)
                                                                                                                                INTERVIEWS
          "The Saved Sect- Muslims are many in number but few in reality, and the groups that claim to be Muslim are            No Bailout for Jihad
          many, approaching 73 sects and numbering more than I billion." (An assertion that only Wahhabis are                   Battling with a Billboard
          Muslims and all others are unbelievers.- page 4 7)                                                                    The Last Days of CAIR
                                                                                                                                The Singing Revolution
          "(Negations of One's Islam) [Negation 8] - Befriending the unbelievers, through loving and cooperating with           How Ham as Governs Gaza
          them while knowing that they are unbelievers, makes those who are their friends the same as them." (page 99)
                                                                                                                                FPM WATCH DOG
          "We say to every Christian and every Jew and all those outside Islam, 'your children are born into Islam, but         Heterodoxy archives:
          you and their mother take them away from Islam with your corrupt rearing."' (page 119)                                Read back issues here
          "There are groups in the Muslim world that claim to be Islamic but they are outside Islam. They claim Islam           AUDIO: Restoration
          while in reality they are not Muslims because their beliefs are the beliefs of unbelievers." (page 123)
                                                                                                                                Weekend audio files.
          The book A Muslim's Relations with Non-Muslims, Enmity or Friendship, authored in Arabic by Dr. Abdulla Stop The ISM
          AI-Tarekee, is printed by IIASA, Fairfax, Virginia:                                                     Stopthe!SM.com

          "The unbelievers, idolaters, and others like them must be hated and despised... We must stay away from them           Professors Watch
          and create barriers between us and them." (page 28)                                                                   DangerousProfessors.com

                                                                                                                                Borders Watch
          "Qur 'an forbade taking Jews and Christians as friends, and that applies to every Jew and Christian, with no
                                                                                                                                Recruitment Drive to Boost Border
          consideration as to whether they are at war with Islam or not." (page 37)                                             Patrol

          "Muslims are forbidden from participation in their prayers, funerals, or holidays." (page 54)                         Jihad Watch
                                                                                                                                News Updates
          The booklet The Difference Between The Shiites and the Majority ofMuslim Scholars, authored by Saeed
          Ismail, is distributed in English and Arabic by W AMY, in Alexandria, Va. It claims that a fictional Yerneni          United American Committee
          Jew, Abdullah Ibn Sabaa, conspired with other Jews to create a division in Islam, and planted Jewish ideas            UAC.com
          which become Sbi 'a Islam. Its states, "The Jewish conspiracy (among others), represented by Abdullah Bin             Campus Watch
          Sabaa, first influenced Muslims who were less knowledgeable about Islam and later on, spread to the rest of           About Campus Watch
          the Muslim community." (page I)                                                                                       Current News
                                                                                                                                Survey of Institutions
          The author then concludes his booklet by saying that, "The cornerstones ofthe Sbi 'i faith, as well as its
          dimensions and evidence, are false and baseless." Page 32.                                                            Media Watch
                                                                                                                                HonestReporting.com
          The doctrine that underlies these expressions of hatred is called Wahhabism.It is the official Muslim sect in         David Limbaugh. com




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          Saudi Arabia. Its rigid teachings are adhered to by a small minority in Islam and Saudi Arabia itself.Wahhabisrn CAMERA.org                   M> ty G,<:,<::-gk
          promotes hatred against the majority of Muslims and all non-Muslims. Many ofthese books claim most ofthe
          world's Muslims are not Muslims at all, but rather unbelievers condemned to die ifthey do not embrace                                          Is Jesus Really
          Wahhahi Islam.                                                                                                                                 God?
                                                                                                                                                         Scholars Examine the
          In the aftermath of September II, religious leaders everywhere have called for new dialogue between the                                        Facts About Jesus'
          faiths, to isolate and defeat extremists. Wahhahi clerics, backed by Saudi oil money, and provided a platform                                  Claims to be God
          by the Saudi state, do not agree. AI-Tarekee'sAMuslim 's Relations with Non-Muslims, Enmity or                                                 www .Y-Jesus.com/JesusGod
          Friendship, warns against "suspicious calls heard on the global level from many organizations, groups, and
          parasites calling for brotherhood, equality, and unity among the nations ofthe earth, and among all creeds,
          religions, and goals." (page 3)                                                                                                                Nikolsburg
                                                                                                                                                         Spreading the love
          The Saudi government has been committed to spreading Wahhahi Islam for the past 30 years, using oil                                            for Hashem,Torah and
          revenues badly needed to build schools, roads, and hospitals for Saudi citizens. Saudi official institutions,                                  fellow Jews ...
          including all embassies, have been active in promoting Wahhahisrn from Indonesia to Ukraine, and even in                                       www .nikolsburg.org
          Washington, DC.
                                                                                                                                                         All Saudi
          The Saudi Institute has sent three letters to HRH Ambassador Bandar Bin Sultan, asking him to stop the                                         Compounds
          distribution ofthese books by the Saudi embassy in Washington and liAS A. The Institute calls for closing                                      The only website that
          IIASA and WAMY and replacing them with exchange programs to train Saudi doctors and engineers. Saudi                                           brings all Saudi
          Institute Director Ali al-Aluned comments, "IIASA is beyond reform. It practices religious and gender                                          housing compounds
          apartheid. Female students are not allowed in the library except for four hours each week, when men are not
                                                                                                                                                         together
          around. Classes are segregated and women are taught through closed-circuit television."                                                        www .rightcom pound.com

          The Institute has also turned copies of these books over to the Saudi desk officer at the State Department, and                                Touro College in
          asked for official action.                                                                                                                     Israel
                                                                                                                                                         USA College Courses
          The IIASA library does not have a single book authored by Shi 'a Muslim scholars, who are seen as heretical.                                   in Israel Apply Now!
          The librarian refused repeated attempts to donate Shi' a books to the library. Shi 'a Muslims constitute
                                                                                                                                                         1-800-950-4824
          approximately 20% of Saudis, and make up the majority in the oil-rich Eastern Province.                                                        www .Tourolsrael.org

          The problem is not restricted to Washington but is worldwide. These official Saudi organizations have
          branches from Tokyo to London and drain hundreds of millions from the national budget.                                                         God Can Give You
                                                                                                                                                         !\l_~lt\Ll,if~
          Recommendations to U.S. and Saudi authorities:                                                                                                 Learn From This True
                                                                                                                                                         Life Story How God
              I. Close the Institute oflslamic and Arabic Sciences in America, repatriate its Saudi staff, and sell their                                Can Change Your Life
                 assets to build schools in Saudi Arabia.                                                                                                www .LifesG reatestQuestio n .cc


              2. Close WAMY offices in Washington and around the world, and use funds to build schools for Saudi
                 children.

              3. Cut off Saudi spending on spreading religious hatred around the world.

              4. End Wahhabi domination of Saudi religious institutions and diversify them to include Shi 'a and
                 non-Wahhabi Sunni scholars.

              5. The US State Department must review the activities of Saudi diplomats to ascertain whether they
                 continue to engage in extra-diplomatic activities that violate their mandate.

              6. The U.S. State Department must facilitate the construction of American cultural centers in Saudi
                 Arabia to teach Saudis American values of democracy: freedom, pluralism, human rights, civil society,
                 and rule oflaw.

          Hate literature distribution centers:

          1- The Royal Saudi Embassy Office of Islamic Affairs: Located on the second floor ofthe embassy at 601
          New Hampshire Ave N.W. A section ofthe Saudi diplomatic representation, supported by government funds
          and senior officials.

          2- The Institute oflslamic and Arabic Sciences in America is the largest source of Saudi hate literature in the
          Washington area. The institute is located at 8500 Hilltop Road, Fairfax, Va. 22031, a branch of Imam
          Muhammad bin Sa'ud University in Riyadh, the main religious university in the country, and is managed and
          staffed by Saudi diplomats. The Institute practices gender segregation against its women students who are
          confined to a small part ofthe building and forced to use a back entrance. It also practices religious supremacy
          and bars Shi'a students, teachers, and books. Shi'a Muslims make up 20% of Saudi Arabia but their beliefs are
          taught as Jewish manipulations not as an Islamic tradition. The Institute teaches Wahhabi Islam to over 400
          students, tuition free, mainly training them to serve as imams in U.S. mosques, i.e. as community leaders
          infected with extremism.

          The head ofthe U.S. branch is a Saudi diplomat, Dr. Aluned Turkistani. The university has six branches outside
          Saudi Arabia that annually cost the country over $100 million, and over 60 institutes in the country in addition
          to four campuses.

          3- World Assembly of Muslim Youth (WAMYl located at 5134 Leesburg Pike,
          Alexandria, VA 22302. Founded in 1972 in Riyadh on the orders ofthe late King Faisal. The organization
          operates on funds provided by the government, and the financial support of members of the royal family such
          as Princes Sultan and Nayef. The organization was named in the lawsuit filed by the survivors ofthe victims of
          September 11, who have accused WAMY of supporting al-Qaida. Aspokesrnanofthe organization in Riyadh
          told the Associated Press in August that the suit is "an American Zionist attempt to blackmail Saudi Arabia."

          The President ofWAMY is Saleh Al-Alshaikh, Minister of Islamic Affairs. WAMY employs Shaikh Saad
          Al-Buraik, who called for enslaving Jewish women and killing their children (the audio is available upon
          request). Al-Buraik, the religious advisor of Prince Abdul-Aziz hin Fahd, the King's son, was promoted after
          his famous speech to be a host of a weekly TV show on the Middle East Broadcasting Company (MBC),
          owned by the same prince and headed by his uncle Waleed Al-Ibrahirn. WAMY also employs Shaikh Abdullah
          Ben Jabreen, who called for the killing of all Saudi Shi 'a, and who issued a fa twa in support ofthe Tali ban
          against the northern alliance forces December 2000.

          Abdullah Ben Laden, brother of Osarna Ben Laden, is the founder and former president ofthe U.S. office of



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          WAMY.

          Related links and contact numbers:

          1- Dr Aluned Turkistani, Director ofthe Institute oflslamic and Arabic Sciences in America. Tel: (703)
          207-3903. Email: director@iiasa.org

          2- Royal Saudi Embassy Office Islamic Affairs. Tel: (202) 342-3700. Mr. Mesaed Al-Jaraah.

          3- Saudi Information Office at the Embassy. Mr. Nail Al-Jubair, Tel: (202) 337-4076.

          4- Saudi Ambassador AlunedKattan. Tel: (202) 342-3800 X 3000.

          5- Shaikh Saad Al-Buraik number: 966-5-544-1178 or 966-5-451-5100

          6- Dr. Saleh AI-Wohaibi, head of W AMY in Riyadh. 9661-464-1669. Email: alwohaibi@warny.org

          7- Websites:

          WAMY websites:

          Main WAMY site: www.warny.org

          WAMY US site: www.warnyusa.org

          WAMY Europe site: www.warny.co.uk

          WAMY Office- North America

          Tel: 703-916-0924
          Fax: 703-916-0925

          WAMY Western Europe Office UK
          46 Goodge Street
          London W1 T 4LX
          United Kingdom
          Tel: +44 (0) 20 7636 7010
          Fax: +44 (0) 20 7636 7080

          WAMY Head Office
          Riyadh 11443
          Saudi Arabia
          Tel:+ 9661 464 1669
          Fax:+ 9661 464 1710


          Shaikh Abdullah Bin Jabreen website: www.ibn-jebreen.corn

          The following pages contain verbatim excerpts ofthe texts distributed in the U.S.:

          1- The Difference Between The Shiites and the Majority ofMuslim Scholars, by Saeed Ismail, for World
          Assembly of Muslim Youth (published in English).

          Shi'a Islam: A" Jewish and Persian Conspiracy"

          Page 1 -"When Islam carne as a guidance for mankind, the early generation of devoted Muslims worked hard
          and sincerely to propagate and defend it. Consequently, Islam spread fast and steadily. However, this created
          waves of anger and hatred towards Islam from some followers of Judaism. They plotted to assassinate the
          Prophet and to create discord or fighting (jitnah) among Muslims. However, the faith (iman) ofthe
          companions was so strong that they were not affected by such conspiracies. After the death of many
          Companions [ofthe Prophet (peace be upon him)], the Jewish conspiracy (among others), represented by
          Abdullah Bin Sabaa, found its way, first of all, to Muslims who were less knowledgeable about Islam and
          then, later on, to the rest ofthe Muslim community.

          "During the caliphate ofthe first and second caliph, many Companions were still alive. However by the end of
          the third caliph's reign, many of them had passed away, while the number of the new generation and new
          converts had multiplied tremendously. At this time, various tribalist, racist, and Jewish movements found an
          opportunity to become more active once again. Among these movements was the one of Abdullah ibn Sabaa,
          already mentioned above; a Yerneni Jew who claimed the Ali (ra [may Allah reward him]) had divine
          authority. This developed further into the claim that he, his sons Al-Hassan ([may Allah reward him]) and
          a!-Husain ([may Allah reward him]), as well as the descendants of the latter, should be the future leaders of the
          Muslim ummah forever. This way, of course, contrary to current practice, for after the death of the Prophet
          [peace be upon him], Abu Baker ([may Allah reward him]) was followed by Ornar ([may Allah reward him]).
          At that time there was no claim that Ali ([may Allah reward him])should have been the first caliph.

          "This claim finally found acceptance in the capital ofthe conquered Iranian empire, al-Madayen. It was easier
          to establish this claim in al-Madayen than in other regions of the Islamic empire, especially since al-Husain
          ([may Allah reward him]), the second son of Ali ([may Allahrewardbirn]), was married to the daughter of the
          last Iranian emperor.

          "This is why the Sbi 's [sic] concept of hereditary leadership is confined to the descendants of Al-Husain ([may
          Allah reward him]), beginning with the fourth Sbi 'i Imam. The claim that Ali ([may Allah reward him]) should
          have been the first caliph started mainly as a political claim and was designed to create discord among
          Muslims by agitation, tribal and racial differences and hostilities."

          Page 32: "The cornerstone ofthe Sbi 'i faith, as well as its dimensions and evidence, is false and baseless."

          2-Deen Al-Haqq [The True Religionj, text in Arabic by Abdul Rahman Ben Hamad Al-Orner. Printed by
          Ministry of Islamic Affairs and Endowments, and paid for by the foundation of Ibrahim Ben Abdul Aziz
          Al-Brabirn, King Fahd's father-in-law.




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                                               Hatred of Judaism and Christianity

          Page 25- "Judaism and Christianity are deviant religions."

                                      Wahhabism: A Doctrine of Religious Supremacism

          Page 47 - "The Saved Sect - Muslims are many in number but few in reality, and the groups that claim to be
          Muslim are many, approaching 73 sects and numbering more than I billion."

          Hatred ofthe Descendants ofthe Prophet Muhammad (pbuh)

          Page: 49- "And of those who claim to be progeny of Prophet Mohammad and who are called Sada- they
          must establish the truth of their claims, because God will punish whose who falsify their family line."

                                                 Ban On Interfaith Cooperation

          Page 99- (Negations of One's Islam) "(Negation 8) -Befriending the unbelievers, through loving and
          cooperating with them while knowing that they are unbelievers, makes those who are their friends the same as
          them."

                                               Hatred of Judaism and Christianity

          Page 118 -"Those who attack Islam are the enemies oflslam, those who hate it, such as the Orientalists
          [Western academics], Christian missionaries, and the Jews."

          Page 119- "We say to every Christian and every Jew and all those outside Islam, 'your children are born into
          Islam, but you and their mother take them away from Islam with your corrupt rearing.' "

                                           Hatred of the World Majority of Muslims

          Page 123 -"Fourth: 'There are groups in the Muslim world that claim to be Islamic but they are outside
          Islam. They claim Islam while in reality they are not Muslims because their beliefs are the beliefs of
          unbelievers.

          "Among these groups: The Batinis or Pretenders [i.e. Shi'a Muslims]. The Origin ofthe Pretenders is among
          the groups of Jews, Zoroastrians, and atheist philosophers in Persia, after Islam spread there and defeated
          them. They gathered and consulted to create a sect to divide Muslims ... and to confuse understanding ofthe
          meaning of the Glorious Qur 'an. To divide Muslims they created this destructive sect and propagated it. And
          they claimed to be descendents ofthe Prophet Muhammad, and claimed to be their supporters (Shi'a) to be
          more appealing in misguiding the public."

          Page 126: "These infidel groups [i.e. Shi 'a and Ashaari or non-Wahhahi Muslims], which we mentioned, are
          among the unbelieving groups that claim Islam while they destroy it."

          3-A Muslim's Relations with Non-Muslims, Enmity or Friendship, text in Arabic by Dr. Abdulla
          AI-Tarekee,printed by Institute of Islamic and Arabic Sciences in America, in Fairfax, Virginia.

                                       Ban On Interfaith Cooperation and Global Peace

          Page 3 -"There are suspicious calls heard on the global level from many organizations, groups, and parasites
          calling for brotherhood, equality, and unity among the nations ofthe earth, and among all creeds, religions, and
          goals.

          "Such appeals include; globalization, humanity, religious co-existence, religious harmony, peaceful
          coexistence, and reinforcement of the international community.

          "Many Muslims listen to these appeals ... and are affected by them, adopting and calling for their propagation."

          Page 23- "(Important Rules): The Second Rule (One associates only with one who one loves)

          "Whoever admires the unbelievers and idolaters is affected by them and prefers them. Thus the Muslim is
          forbidden to associate with idolaters, deviants and the misguided."

          Page 28 -"The unbelievers, idolaters, and others like them must be hated and despised... They carmot be
          supported against Muslims and must not be followed in anything ... We must stay away from them and create
          barriers between us and them."

          Page 37- "Qur'an forbade taking Jews and Christians as friends, and that applies to every Jew and Christian,
          with no consideration as to whether they are at war with Islam or not."

          Page 54: "Muslims are forbidden from participation in their prayers, funerals, or holidays."



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